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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Art Akiane LLC
                                     Plaintiff,
v.                                                      Case No.: 1:19−cv−02952
                                                        Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 25, 2022:


       MINUTE entry before the Honorable Jeffrey Cole: The Joint Expedited Motion To
Extend Remaining Case Deadlines [298] is granted. Fact discovery is extended from
2/25/22 to 3/11/22. Expert discovery is extended from 3/25/22 to 4/8/22. THIS IS THE
FINAL EXTENSION. Emailed notice (yt)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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